        Case 2:96-cr-00539-HB
        Case:                 Document
              19-2915 Document:  27-1 1259   Filed Date
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                                                               01/02/2020




CLD-060               UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                 ___________

                                     No. 19-2915
                                     ___________

                           UNITED STATES OF AMERICA

                                           v.

                               TERRENCE GIBBS,
                                a/k/a T, a/k/a Terry,
                                             Appellant
                      ____________________________________

                    On Appeal from the United States District Court
                       for the Eastern District of Pennsylvania
                         (D.C. Crim. No. 2:96-cr-00539-002)
                     District Judge: Honorable Harvey Bartle, III
                     ____________________________________

             Submitted on Appellee’s Motion for Summary Action Pursuant
                      to Third Circuit L.A.R. 27.4 and I.O.P. 10.6

                                   December 5, 2019

              Before: JORDAN, KRAUSE, and MATEY, Circuit Judges
                                ___________

                                     JUDGMENT
                                     ___________

       This cause came to be considered on the record from the United States District
Court for the Eastern District of Pennsylvania and was submitted on the motion of
Appellee for summary action pursuant to Third Circuit LAR 27.4 and I.O.P. 10.6 on
December 5, 2019. On consideration whereof, it is now hereby
       Case 2:96-cr-00539-HB
       Case:                 Document
             19-2915 Document:  27-1 1259   Filed Date
                                      Page: 2     01/02/20
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                                                              01/02/2020




       ORDERED and ADJUDGED by this Court that the judgment of the District Court
entered July 22, 2019, be and the same hereby is affirmed. All of the above in
accordance with the opinion of this Court.


                                                ATTEST:


                                                s/ Patricia S. Dodszuweit
                                                 Clerk

DATED: December 11, 2019




                       Certified as a true copy and issued in lieu
                       of a formal mandate on January 2, 2020


                      Teste:
                      Clerk, U.S. Court of Appeals for the Third Circuit




                                            2
